JOHN R. KOSTOS AND JOAN M. KOSTOS, Petitioners v. COMMISSIONER OF INTERNAL REVENUE, RespondentKostos v. CommissionerDocket No. 19495-82.United States Tax CourtT.C. Memo 1983-698; 1983 Tax Ct. Memo LEXIS 96; 47 T.C.M. (CCH) 393; T.C.M. (RIA) 83698; November 23, 1983.  John J. Vassen and Patrick B. Mathis, for the petitioners.  Michael J. Cooper and James A. Kutten, for the respondent.  DRENNENMEMORANDUM FINDINGS OF FACT AND OPINION DRENNEN, Judge: This case was assigned to and heard by Special Trial Judge John J. Pajak pursuant to the provisions of section 7456(c) of the Internal Revenue Code1 and Rules 180 and 181.  2 The Court agrees with and adopts his opinion which is set forth below.  *97  OPINION OF THE SPECIAL TRIAL JUDGE PAJAK, Special Trial Judge: Respondent determined a deficiency in petitioners' 1980 Federal income tax in the amount of $979.49.  The sole issue for decision is whether under section 162(a) petitioners are entitled to deduct petitioner-husband's costs of traveling between his residence and place of work, with the medical and sales tax adjustments dependent upon resolution of that issue.  FINDINGS OF FACT Some of the facts have been stipulated.  The stipulation of facts and attached exhibits are incorporated herein by this reference.  Petitioners, husband and wife, resided in Dollwood, Missouri, when their petition in this case was filed.  Petitioner John R. Kostos (petitioner) is an insulator and a member of Local #1, International Association of Heat and Frost Insulators and Asbestos Workers (union).  Prior to joining the union in 1982, petitioner had been classified as a "permit worker." As such, he was subject to being "bumped" from his job by union members seeking work.  Petitioner was employed by Daniel International Corporation (Daniel) as an insulator at the Callaway Nuclear Power Plant project (Callaway).  Callaway is a major*98  project being built by Union Electric Company (UEC).  The site was located near Fulton, Missouri, approximately 100 miles from petitioners' residence in Dellwood, Missouri.  Petitioner was first employed by Daniel on April 30, 1979.  On August 4, 1979, he was laid off for medical reasons.  3 Generally, when an employee was laid off by Daniel, he had no absolute assurances that he could return to Callaway.  However, the craft employees separation form indicates that petitioner was to be rehired upon obtaining a doctor's release.  He obtained such a release and was rehired on October 30, 1979.  He worked until April 10, 1981.  Petitioner worked for Daniel at Callaway for a continuous period of almost two years, except for his absence because of medical reasons and for two other brief periods when petitioner was laid off due to work stoppages by other crafts. 4The original plan*99  for Callaway was to build two nuclear powered generating units (Units 1 and 2).  Daniel was the general contractor for the entire project, with the exception of the main cooling tower.  Construction of Callaway began in late 1975 with ground breaking and site preparation work.At that time, Unit 1 was scheduled to be completed by October 1981 and Unit 2 by April 1983.  Due to a number of unforeseen problems, the estimated completion dates were extended on several occasions.  In 1978 the estimated completion date was October 1982 for Unit 1 and April 1987 for Unit 2.  These revisions were generally made public by UEC through various press releases and news conferences.  In 1981, plans for the construction of Unit 2 were cancelled.  This had no effect on Unit 1's estimated completion date.  At the time of trial, construction on Unit 1 had not been completed.  A referendum, "Proposition 11," was defeated in Missouri on November 4, 1980.  If successful, the referendum would have prevented the operation of a nuclear power plant within Missouri until a permanent disposal site for radioactive waste could be approved by the Federal government.  Even if the proposition passed, UEC intended*100  to continue construction at Callaway.  The proposition had no effect on the construction of Unit 1 or on the estimated completion date of Unit 1.  Insulators at the Callaway project were hired by Daniel pursuant to an agreement with the union.  Based on work requirements, an employee of Daniel would prepare a manpower request for a certain number of workers.  The necessary insulators would be supplied from the union's referral list.  5 The decision to lay off a particular insulator due to a reduction of force at Callaway was solely within the discretion of Daniel.  When petitioner was hired on April 30, 1979, he was given no indication of how long employment would be available.  He was aware of the magnitude of the Callaway project.  At that time Unit 1 was less than 40*101  percent complete.  A worker, such as petitioner, was required to attend an orientation lecture about Callaway each time he was hired by Daniel.  During the lecture, the worker was informed of the then estimated time of completion. During 1980, Daniel had a substantial need for insulators. In addition to significant amounts of work on temporary facilities, insulation work was required in buildings for which Daniel was responsible.  Such work was not seasonal in nature.  A person in petitioner's craft could reasonably expect to remain employed for as long as work remained available and he maintained a good work record.  Although the number of insulators at Callaway fluctuated in 1980, 6 the prospects for continued employment for a good worker were substantial throughout 1980.  The parties introduced two joint exhibits containing figures showing the total number of insulators employed at Callaway, one apparently as of each given Tuesday and the other on a weekly*102  basis.  From the time petitioner was hired on October 30, 1979, both exhibits show that a substantial number of insulators were employed.  There were fluctuations in the upper ranges of total employment of insulators and on two short occasions there were drastic reductions in force of insulators due to work stoppages by other crafts. Petitioner was one of those laid off due to work stoppages by other crafts. None of the fluctuations in the upper range of employment affected petitioner's employment nor his prospects of employment.  Petitioner was employed by Daniel for almost two years, with the breaks described above, despite the fluctuations in the total employment figures.  Daniel was obviously satisfied with his performance.  Petitioner's August 14, 1979 lay off slip noted that he should be rehired upon obtaining a doctor's medical release. After obtaining such a release two months later, he was rehired. Petitioner was in the group of Daniel employees at Callaway who could expect to remain employed throughout 1980.  Petitioners claimed an adjustment to income on their 1980 return for employee business expenses in the amount of $5,557.00.  There is no dispute that this amount*103  represents the costs incurred by petitioner in commuting by automobile between his residence and the Callaway site. Respondent disallowed the claimed adjustment in full.  OPINIONThe essential facts herein do not differ from those in Van Horn v. Commissioner,T.C. Memo. 1983-693, 7 issued on the same day this opinion was issued, although there are some differences in the detail.  Petitioner's absence from work due to medical reasons in 1979 would not change indefinite employment into temporary employment.  See Hudson v. Commissioner,T.C. Memo. 1981-430; Wootton v. Commissioner,T.C. Memo 1980-391"&gt;T.C. Memo. 1980-391. Although petitioner faced the possibility of not being reassigned to Callaway after his medical absence, such a fact is not persuasive on this record.  Whatever petitioner's status was in 1979, there is no question but that by January 1, 1980, his prospects for continued employment for an indefinite period were excellent.  Frederick v. United States,603 F.2d 1292"&gt;603 F.2d 1292 (8th Cir. 1979); Norwood v. Commissioner,66 T.C. 467"&gt;66 T.C. 467 (1976); Kroll v. Commissioner,49 T.C. 557"&gt;49 T.C. 557 (1968). We are satisfied*104  that for the reasons set forth in Van Horn v. Commissioner,supra, that petitioner's employment during 1980 was indefinite, and not temporary. Accordingly, respondent's disallowance of the claimed authomobile expense must be sustained.  Decision will be entered for the respondent.Footnotes1. All section references are to the Internal Revenue Code of 1954 in effect during the taxable year in issue, unless otherwise indicated.  All references to Rules are to the Tax Court Rules of Practice and Procedure.  ↩2. Pursuant to the order of assignment, on the authority of the "otherwise provided" language of Rule 182, the post-trial procedures set forth in that rule are not applicable in this case.↩3. Two joint exhibits show this date as August 4, 1979, whereas two other joint exhibits show it as August 14, 1979.  The difference is insignificant.  ↩4. The first of these periods was the three weeks from April 7, 1980 to April 28, 1980, and the other was the one week from May 28 to June 4, 1980.↩5. During the period 1976 through 1981, the union found that its members were almost all fully employed in various projects within its jurisdiction, causing it to allow permit workers to satisfy the demands of various employers.  The number of union insulators employed during that period ranged from a low of 298 to a high of 320.  The number of insulators employed as permit workers ranged from 241 to 370.↩6. Fluctuations were the result of various factors such as voluntary quits, no-shows, firing due to violation of project rules, reductions in force due to the needs of the employer, and work stoppages by other crafts.↩7. The instant case was consolidated for trial and briefing with that case and one other case and for trial with two other cases with respect to common witnesses.↩